Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 1 of 12. PageID #: 129178




                               EXHIBIT 91
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 2 of 12. PageID #: 129179
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 3 of 12. PageID #: 129180
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 4 of 12. PageID #: 129181
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 5 of 12. PageID #: 129182
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 6 of 12. PageID #: 129183
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 7 of 12. PageID #: 129184
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 8 of 12. PageID #: 129185
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 9 of 12. PageID #: 129186
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 10 of 12. PageID #: 129187
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 11 of 12. PageID #: 129188
Case: 1:17-md-02804-DAP Doc #: 1957-91 Filed: 07/23/19 12 of 12. PageID #: 129189
